

Matter of Rigler (2021 NY Slip Op 02214)





Matter of Rigler


2021 NY Slip Op 02214


Decided on April 8, 2021


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:April 8, 2021

PM-46-21
[*1]In the Matter of Douglas V. Rigler, an Attorney. (Attorney Registration No. 1733302.)

Calendar Date:April 5, 2021

Before:Garry, P.J., Egan Jr., Clark, Aarons and Pritzker, JJ.

Douglas V. Rigler, Bethesda, Maryland, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Douglas V. Rigler was admitted to practice by this Court in 1981 and lists a business address in Alexandria, Virginia with the Office of Court Administration. Rigler now seeks leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application by correspondence from its Chief Attorney.
As is noted by AGC, Rigler is presently delinquent in his New York attorney registration requirements, having failed to register for the 2021-2022 biennial period (see Judiciary Law § 468-a; Rules of the Chief Admin of Cts [22 NYCRR] § 118.1). Inasmuch as Rigler is therefore subject to potential disciplinary action (see Judiciary Law § 468-a [5]; Rules of Professional Conduct [22 NYCRR 1200.0] rule 8.4 [d]; see also Matter of Attorneys in Violation of Judiciary Law § 468-a, 113 AD3d 1020, 1021 [2014]), he is ineligible for nondisciplinary resignation and his application must be denied (see Matter of Cluff, 148 AD3d 1346, 1346 [2017]; Matter of Bomba, 146 AD3d 1226, 1226-1227 [2017]). Further, any future application by Rigler must be supported by proof of his full satisfaction of the requirements of Judiciary Law § 468-a and Rules of the Chief Administrator of the Courts (22 NYCRR) § 118.1 (see Matter of Frank, 146 AD3d 1228, 1228-1229 [2017]).
Garry, P.J., Egan Jr., Clark, Aarons and Pritzker, JJ., concur.
ORDERED that Douglas V. Rigler's application for permission to resign is denied.








